     Case 7:23-cv-00343 Document 49-5 Filed on 10/18/24 in TXSD Page 1 of 5


 1                IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
 2                          MCALLEN DIVISION
 3       JUANA CRUZ, OFELIA             )
         BENAVIDES, JOSE ELIAS N.G,     )
 4       GABRIELA VELAZQUEZ, RICARDO    )
         GONZALEZ, HELESIO CRUZ,        )
 5       ANGELICA CHAVEZ, CONCEPCION    )
         PEREZ, OLGA PEREZ, MAVRIGO     )
 6       SAENZ, JORGE MAOLEON, HECTOR )
         SANCHEZ, HECTOR GONZALEZ,      )
 7       YESSY PEREZ-MARTINEZ, MARIA    )
         DE LOURDES CRUZ, RESENDO       )
 8       LIEVANOS, ELIZABETH LARA,      )
         LUIS ALBERTO                   )       CIVIL ACTION
 9       ZUNIGIA-CASTILLO, MIGUEL       )    NO. 7:23-CV-00343
         CABALLERO SANCHEZ, GUILLERMO )
10       DE LA CRUZ-MENDOZA, CARLOS     )
         DANIEL LOPEZ, GILDA RIVAS,     )      JURY DEMANDED
11       ARMANDO MORALES DE LLANO,      )
         LAZARO GARCIA, MARIA DE        )
12       JESUS MEDINA, RICARDO          )
         ESQUIVEL, RAFAEL SANCHEZ,      )
13       GUILLERMO RUIZ, ROSA           )
         QUINTANILLA,                   )
14                                      )
                      PLAINTIFFS,       )
15                                      )
         VS.                            )
16                                      )
         DELGAR FOODS LLC A/K/A         )
17       DELIA'S TAMALES,               )
                                        )
18                    DEFENDANT.        )
19
        *******************************************************
20                        ORAL DEPOSITION OF
21                            LUIS ZUNIGA
22                           June 28, 2024
23     ********************************************************
24
25

                                                                    Page 1

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                                                                   EXHIBIT
                                      346-293-7000
                                                                      A-4
Case 7:23-cv-00343 Document 49-5 Filed on 10/18/24 in TXSD Page 2 of 5

 1       ORAL DEPOSITION of LUIS ZUNIGA, produced as a                  1                    INDEX
 2 witness at the instance of the Defendant, and duly
                                                                        2                                                PAGE
                                                                        3 Appearances..................................... 03
 3 sworn, was taken in the above-styled and numbered cause
                                                                        4 Exhibits........................................ 04
 4 on the 28th day of June, 2024, from 10:26 a.m. to                    5
 5 12:12 p.m., before Anica Diaz, CSR, RPR, CRR, in and for               LUIS ZUNIGA
 6 the State of Texas, reported by machine shorthand, at                6
 7 the Law Offices of Ricardo Gonzalez, 124 South 12th
                                                                            Examination by Mr. Quezada................. 05
                                                                        7
 8 Avenue, Edinburg, Texas, pursuant to the Federal Rules
                                                                        8 Changes and Signature........................... 49
 9 of Civil Procedure and the provisions stated on the                  9 Reporter's Certificate.......................... 51
10 record or attached.                                                 10
11                                                                     11
12
                                                                       12
                                                                       13
13
                                                                       14
14                                                                                        EXHIBITS
15                                                                     15                                                PAGE
16                                                                     16 Defendant's Exhibit No. 1
17
                                                                               Questionnaire Filled out by
                                                                       17      Luis Zuniga........................... 32
18
                                                                       18 Defendant's Exhibit No. 2
19                                                                             Affidavit of Luis Zuniga.............. 33
20                                                                     19
21                                                                     20
22
                                                                       21
                                                                       22
23
                                                                       23
24                                                                     24
25                                                                     25
                                                              Page 2                                                            Page 4
 1           APPEARANCES
                                                                        1             PROCEEDINGS
 2 COUNSEL FOR THE PLAINTIFFS:
 3     MR. RICARDO GONZALEZ                                             2          (Proceedings began at 10:26 a.m.)
       OXFORD & GONZALEZ
 4     124 South 12th Avenue
                                                                        3          (Per agreement of all counsel, Federal
       Edinburg, Texas 78539                                            4 Rule 30(b)(5) Read-On was waived.)
 5     Tel: (956) 383-5654
       ric@oxfordandgonzalez.com
                                                                        5          THE REPORTER: On the record at 10:26 a.m.
 6                                                                      6          (Interpreter and Witness were sworn in.)
 7 COUNSEL FOR THE DEFENDANT:
 8     MR. STEPHEN J. QUEZADA
                                                                        7               LUIS ZUNIGA,
       OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.                   8 having been duly sworn, testified through an Interpreter
 9     500 Dallas Street, Suite 3000
       Houston, Texas 77002                                             9 as follows:
10     Tel: (713) 655-5757                                             10                EXAMINATION
       stephen.quezada@ogletree.com
11                                                                     11 BY MR. QUEZADA:
       MS. LORENA D. VALLE                                             12     Q. Good morning, Mr. Zuniga.
12     PORTER HEDGES, LLP
       1000 Main Street, 36th Floor                                    13     A. Good morning.
13     Houston, Texas 77002-6341                                       14     Q. My name is Stephen Quezada. I'm an attorney
       Tel: (713) 226-6000
14     lvalle@porterhedges.com                                         15 representing Delgar Foods, L.L.C. in this lawsuit.
15     MS. ELIZABETH SANDOVAL CANTU                                    16 Okay?
       RAMON WORTHINGTON NICOLAS & CANTU, PLLC
16     1506 South Lone Star Way, Suite 5                               17     A. Okay.
       Edinburg, Texas 78539                                           18     Q. And Delgar Foods goes by the d/b/a name of
17     Tel: (945) 294-4800
       ecantu@ramonworthington.com                                     19 Delia's Tamales.
18                                                                     20     A. Yes.
19 ALSO PRESENT:
20     Mr. Luis Gonzalez, Interpreter                                  21     Q. And are you okay if today when I refer to the
       Mr. Rosendo Lievanos, Plaintiff                                 22 Defendant in this case as Delia's, and you understand
21     Ms. Olga Perez, Plaintiff
22                                                                     23 that I mean Delgar?
23                                                                     24     A. Yes.
24
25                                                                     25     Q. And even though we're in your attorney's
                                                              Page 3                                                            Page 5

                                                                                                                    2 (Pages 2 - 5)
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Case 7:23-cv-00343 Document 49-5 Filed on 10/18/24 in TXSD Page 3 of 5

 1     Q. So it's the same phone for nine years?          1     A. No. Before it was with Compass.
 2     A. I've had this phone for about three years.      2     Q. Would you ever cash any of your paychecks?
 3     Q. What did you do to prepare for today's          3     A. No.
 4 deposition?                                            4     Q. Even though you received direct deposit, you
 5     A. Nothing.                                        5 still received a pay stub?
 6     Q. You didn't review any documents?                6     A. Yes.
 7     A. No.                                             7     Q. And how would you receive those?
 8     Q. You didn't -- have you spoken to anyone about 8       A. May the question be repeated.
 9 today's deposition?                                    9     Q. Yes, sir. Thank you for asking.
10     A. No.                                            10           How would you receive the pay stub?
11     Q. Can you tell us, sir, what's the highest level 11     A. In an envelope.
12 of education you achieved?                            12     Q. And in the envelope would just be the pay stub,
13     A. Primary school, that's all.                    13 correct?
14     Q. And primary school, is that -- what's          14     A. Yes.
15 the -- that was in Mexico?                            15     Q. And what would you do with those pay stubs once
16     A. Yes.                                           16 you received them?
17     Q. What would be the United States equivalent? 17        A. Sometimes I'd store it.
18     A. Well, we have six years in Mexico. I don't     18     Q. Do you have any pay stubs from Delia's?
19 know how many we have here.                           19     A. Probably only about five. I got rid of the
20     Q. Okay. Why is it that you're suing Delia's?     20 rest.
21     A. Unjustified termination, discrimination, and   21     Q. When you say you got rid of the rest, you would
22 intimidation.                                         22 throw them away?
23     Q. And those are the only reasons that you're     23     A. Yes.
24 suing Delia's, correct?                               24     Q. While you were working at Delia's, your
25     A. Yes.                                           25 position was that of a manager, correct?
                                                    Page 10                                                       Page 12

 1    Q. And your employment with Delia's was from             1    A. I first, I start as an employee, then two years
 2 May 21st of 2017 until May 2nd of 2023, correct?            2 after I was made in a manager.
 3    A. I actually began working for them in 2014, but        3    Q. Okay. So at some point in about 2019 you
 4 we were paid in cash so it's only registered in 2017        4 became a manager?
 5 when we started getting a check.                            5    A. Yep.
 6    Q. So beginning in 2017 is when you started              6    Q. And that promotion was a good thing, correct?
 7 receiving compensation by check, correct?                   7    A. Yes.
 8    A. Yes.                                                  8    Q. And once you became a manager, you started
 9    Q. And from 2017, some point in 2017, until the          9 earning a salary, correct?
10 date your employment ended with Delia's, you received      10    A. Yes, a salary.
11 your pay by check; is that correct?                        11    Q. And that was about how much per week?
12    A. Yes, with check.                                     12    A. I was making 750 at first, and then it started
13    Q. And while you were receiving a check, you no         13 increasing.
14 longer receive any kind of cash payment; is that           14    Q. 750 per week?
15 correct?                                                   15    A. Yes.
16    A. Not anymore.                                         16    Q. And that's $750 per week, correct?
17    Q. And your checks, would you receive a physical        17    A. Yes. Then it started increasing.
18 check or direct deposit?                                   18    Q. Okay. And what was your final salary when you
19    A. Direct deposit.                                      19 separated from Delia's?
20    Q. And that is into your bank account?                  20    A. $1,120.
21    A. Yes.                                                 21    Q. And you also received health insurance
22    Q. And what's the name of your bank?                    22 benefits, correct?
23    A. PNC.                                                 23    A. Yes.
24    Q. And has that been your bank since you started        24    Q. And Delia's paid for those, the company?
25 receiving checks from Delia's in 2017?                     25    A. I think so.
                                                    Page 11                                                       Page 13

                                                                                                    4 (Pages 10 - 13)
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Case 7:23-cv-00343 Document 49-5 Filed on 10/18/24 in TXSD Page 4 of 5

 1     Q. And you also had vision and dental insurance;          1    A. Yes, the only one.
 2 is that correct?                                              2    Q. Just so that I'm clear, that's the only store
 3     A. Only vision.                                           3 where you worked once you were promoted to manager,
 4     Q. Okay. And did Delia's, the company, pay for            4 correct?
 5 that as well?                                                 5    A. Yes.
 6     A. Yes.                                                   6    Q. And above the manager position is the
 7     Q. Was dental offered to you and you just declined        7 supervisor position?
 8 it, or why didn't you do -- why did you choose not to do      8    A. Yes.
 9 dental?                                                       9    Q. And who was your supervisor?
10     A. Because I didn't need it.                             10    A. Luis Briones.
11     Q. Okay. I'd like to ask you about your final            11    Q. So is it appropriate to say that you were the
12 salary, just a couple more questions. I believe you          12 manager of the San Juan store?
13 told us that your last salary at Delia's at the time you     13    A. Manager.
14 were terminated was 1,120 per week?                          14    Q. Correct?
15     A. Yes.                                                  15    A. Yes.
16     Q. And you also received bonuses from Delia's?           16    Q. So in addition to -- well, let's talk about how
17     A. Yes.                                                  17 you supervised these 30 to 35 employees. Okay?
18     Q. How much would those bonuses be?                      18    A. Okay.
19     A. First, it was 8,000 and then 10,000.                  19    Q. You could hire those employees, correct?
20     Q. And when would you receive that bonus?                20    A. No.
21     A. Like, the first week of January.                      21    Q. Would you interview those employees?
22     Q. So about what would you say would be your total       22    A. No.
23 annual compensation from Delia's?                            23    Q. If an employee walked in and said, I'd like to
24     A. No clue.                                              24 work here, you wouldn't be able to interview or make a
25     Q. While you were employed by Delia's, you also          25 decision to hire them?
                                                      Page 14                                                       Page 16

 1 received two weeks of paid vacation, correct?                 1     A. No.
 2     A. Correct.                                               2     Q. Did you ever recommend that anyone be hired?
 3     Q. And you'd take those paid vacations?                   3     A. No.
 4     A. Yes.                                                   4     Q. Did you ever make a decision to fire anyone?
 5     Q. While you were working for Delia's, did you            5     A. No.
 6 have any periods of times where you were absent, other        6     Q. Did you ever make a recommendation about firing
 7 than vacation periods?                                        7 someone?
 8     A. No.                                                    8     A. No.
 9     Q. So as a manager, you supervised two or more            9     Q. Did you know that you had authority to hire or
10 full-time employees, correct?                                10 fire employees?
11     A. Yes.                                                  11     A. I know I did have but this -- the supervisor
12     Q. Was it just two or was it more than two?              12 didn't give me that authority.
13     A. It was like 30 to 35 people.                          13     Q. So let me break that down a little bit.
14     Q. And those were 30 to 35 full-time employees?          14          Okay. You knew you had the authority to
15     A. Yes.                                                  15 hire and fire, correct?
16     Q. And you managed a particular store; is that           16     A. Supervisor would interview them and I would
17 correct?                                                     17 hire them.
18     A. No.                                                   18     Q. Okay. I'm going to get to what the supervisor
19     Q. Would you go to different stores?                     19 would do okay.
20     A. No.                                                   20     A. Yes.
21     Q. So what -- what locations did you work as a           21     Q. I'm saying that you're aware that as a manager,
22 manager?                                                     22 you had the authority to hire and fire, correct?
23     A. San Juan.                                             23          MR. GONZALEZ: Object to the form of the
24     Q. Was that the only store where you worked while        24 question.
25 you were employed for Delia's?                               25     Q. (By Mr. Quezada) And I get that you're saying
                                                      Page 15                                                       Page 17

                                                                                                      5 (Pages 14 - 17)
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Case 7:23-cv-00343 Document 49-5 Filed on 10/18/24 in TXSD Page 5 of 5

                                                                               by the officer and that the transcript of the oral
 1        I, LUIS ZUNIGA, have read the foregoing                                                                   52
 2 deposition and hereby affix my signature that same is                     1 deposition is a true record of the testimony given by
                                                                               the witness;
 3 true and correct, except as noted above.                                  2
 4                                                                                    I further certify that pursuant to FRCP Rule
                                                                             3 30(f)(1) that the signature of the deponent:
 5                                                                           4     __X__ was requested by the deponent or a party
 6                _________________________________                            before the completion of the deposition and that the
                                                                             5 signature is to be before any notary public and returned
 7                LUIS ZUNIGA                                                  within 30 days from date of receipt of the transcript.
 8 THE STATE OF TEXAS)                                                       6 If returned, the attached Changes and Signature Page
                                                                               contains any changes and the reasons therefor;
 9 COUNTY OF ___________________________)                                    7
                                                                                   ____ was not requested by the deponent or a party
10        Before me, _____________________________, on                       8 before the completion of the deposition.
11 this day personally appeared LUIS ZUNIGA, known to me                     9        I further certify that I am neither counsel
                                                                               for, related to, nor employed by any of the parties or
12 (or proved to me under oath or through                                   10 attorney in the action in which this proceeding was
13 ___________________) (description of identity card or                       taken, and further that I am not financially or
                                                                            11 otherwise interested in the outcome of the action.
14 other document) to be the person whose name is                           12        Certified to by me this 10th day of July, 2024.
15 subscribed to the foregoing instrument and acknowledged                  13
                                                                            14
16 to me that they executed the same for the purposes and                   15
                                                                                            <%32255,Signature%>
17 consideration therein expressed.                                         16              Anica Diaz, Texas CSR(8021), RPR, CRR
18        Given under my hand and seal of office this                                       Expiration Date: 08-31-24
                                                                            17              Veritext Legal Solutions
19 ______ day of ________________, 2024.                                                    Firm Registration No. 571
20                                                                          18              300 Throckmorton Street, Suite 1600
                                                                                            Fort Worth, Texas 76102
21            ___________________________________                           19
22            Notary Public in and for                                      20
                                                                            21
23            The State of Texas                                            22
24                                                                          23
                                                                            24
25                                                                          25
                                                                  Page 50                                                                 Page 52
 1        IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF TEXAS                                 1 Ricardo Gonzalez - ric@oxfordandgonzalez.com
 2              MCALLEN DIVISION                                             2              July 10, 2024
 3 JUANA CRUZ, OFELIA                  )
    BENAVIDES, JOSE ELIAS N.G, )                                             3 RE: Cruz, Juana, Et Al v. Delgar Foods LLC, Et Al.
 4 GABRIELA VELAZQUEZ,                     )
    RICARDO GONZALEZ, HELESIO )                                              4 DEPOSITION OF: Luis Zuniga (# 6734289)
 5 CRUZ, ANGELICA CHAVEZ,                      )
    CONCEPCION PEREZ, OLGA                     )                             5     The above-referenced witness transcript is
 6 PEREZ, MAVRIGO SAENZ,                    )
    JORGE MAOLEON, HECTOR                       )
                                                                             6 available for read and sign.
 7 SANCHEZ, HECTOR GONZALEZ, )                                               7     Within the applicable timeframe, the witness
    YESSY PEREZ-MARTINEZ,                    )
 8 MARIA DE LOURDES CRUZ,                      )                             8 should read the testimony to verify its accuracy. If
    RESENDO LIEVANOS,                  )
 9 ELIZABETH LARA, LUIS                  )                                   9 there are any changes, the witness should note those
    ALBERTO ZUNIGIA-CASTILLO, )                    CIVIL ACTION
10 MIGUEL CABALLERO SANCHEZ, ) NO. 7:23-CV-00343
                                                                            10 on the attached Errata Sheet.
    GUILLERMO DE LA                  )                                      11     The witness should sign and notarize the
11 CRUZ-MENDOZA, CARLOS                        )
    DANIEL LOPEZ, GILDA RIVAS, ) JURY DEMANDED                              12 attached Errata pages and return to Veritext at
12 ARMANDO MORALES DE LLANO, )
    LAZARO GARCIA, MARIA DE                      )                          13 errata-tx@veritext.com.
13 JESUS MEDINA, RICARDO                    )
    ESQUIVEL, RAFAEL SANCHEZ, )
                                                                            14     According to applicable rules or agreements, if
14 GUILLERMO RUIZ, ROSA                    )                                15 the witness fails to do so within the time allotted,
    QUINTANILLA,                 )
15                     )                                                    16 a certified copy of the transcript may be used as if
             PLAINTIFFS, )
16                     )                                                    17 signed.
    VS.                  )
17                     )
                                                                            18                  Yours,
    DELGAR FOODS LLC A/K/A                    )                             19                  Veritext Legal Solutions
18 DELIA'S TAMALES,                )
                       )                                                    20
19           DEFENDANT.         )
20 ********************************************************                 21
21           REPORTER'S CERTIFICATION
             DEPOSITION OF LUIS ZUNIGA
                                                                            22
22
23
                 June 28, 2024
         I, Anica Diaz, Certified Shorthand Reporter in
                                                                            23
   and for the State of Texas, hereby certify to the                        24
24 following:
25       That the witness, LUIS ZUNIGA, was duly sworn                      25
                                                                  Page 51                                                                 Page 53

                                                                                                                              14 (Pages 50 - 53)
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